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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepa> ing Fees or Costs(Short Form)


                                        United States District Court
                                                                           for the
                                                    Northern District of California


                           David Stebbins
                          Plaintiff/Petitioner                                                                       JAN 10 im
                                   V.                                                Civil Action No.
                   Thiago Chagas Garcia Baz                                                                  CLERK. U.S. DISTRICT COURT
                        Defendant/Respondent                                                                NO.RTH DISTRICT OF CALiFCRoi \


        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                                                     (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

          In support of this application, I answer the following questions under penalty of perjury:

           1. Ifincarcerated. I am being held at:
If employed there, or have an account in the institution, 1 have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

          2. Ifnot incarcerated. If I am employed, my employer's name and address are:
   I am self-employed. I am seeking (but have not yet found) outside-the-house employment.



My gross pay or wages are: $                                       ,and my take-home pay or wages are: $                            per
 (specify pay period)

          3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

       (a) Business, profession, or other self-employment                            ^ Yes                  □ No
       (b) Rent payments, interest, or dividends                                     □ Yes                  ^ No
       (c) Pension, annuity, or life insurance payments                              □ Yes                  0'No
        (d) Disability, or worker's compensation payments                            D Yes                  fif No
        (e) Gifts, or inheritances                                                   □ Yes                    No
        (f) Any other sources                                                        sT Yes                 □ No

           Ifyou answered "Yes " to any question above, describe below or on separate pages each source ofmoney and
state the amount that you received and what you expect to receive in thefuture.
  Self-employment on Youtube. For the past 12 months, I have averaged payments of $32.41 per month.

  I also receive SSI payments of $943 per month.
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          4. Amount of money that I have in cash or in a checking or savings account: $                                            445.30 .

        5. Any automobile, real estate, stock, bond, security, trust,jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else's name (describe the property and its approximate
^R'o^/ibteworthy assets




          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe andprovide
the amount ofthe monthly expense)'.
 $400/mo rent
 $95/mo utilities




          7. Names(or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
\jygi^ach^ersgi, and how much I contribute to their support:




          8. Any debts or financial obligations (describe the amounts owed and to whom they are payable)'.
-$40,000 in old student loan debts




          Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.
                                                                                                                                   y

Date:             01/08/2024
                                                                                                           {pplicant's signature

                                                                                                            navirl .^tfthhins
                                                                                                              Printed name
